      Case 1:21-cv-01811-MHC      Document 63     Filed 09/09/21   Page 1 of 2




                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 HOME-OWNERS INSURANCE )
 COMPANY and OWNERS INSURANCE )
 COMPANY, )
                                             ) CIVIL ACTION FILE
               Plaintiffs, ) NO. l:21-cv-01811-MHC
                                             )
 vs.                                  )
                                             )
 TL WILLIAMS & ASSOCIATES, INC; )
 AW ARIA, LLC; ASHTON ATLANTA )
 RESIDENTIAL, LLC; and JASON )
 PULLMAN, )
                                             )
               Defendants. )


                         ORDER GRANTING MOTION TO DISMISS
                   ASHTON ATLANTA RESIDENTIAL, LLC


        This matter is before the Court on the Parties' Consent Motion to Dismiss


Less than All Parties (the "Consent Motion") [Doc. i I]. Having considered the

Consent Motion,


        IT IS HEREBY ORDERED THAT the Consent Motion is GRANTED.

Defendant Ashton Atlanta Residential, LLC is dismissed from this case without

prejudice, and Defendant Pullman's Cross-Claim against Defendant Ashton Atlanta


Residential, LLC is also dismissed without prejudice.




258514312V.1
      Case 1:21-cv-01811-MHC   Document 63   Filed 09/09/21   Page 2 of 2




         SO ORDERED this       day of        €^,2021.




                                        Judge Mark H. Cohen
                                        United States District Judge




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